   Case: Case
         11-15583
              3:07-cv-05596-SI
                     01/28/2014 Document
                                    ID: 8956680
                                          448 FiledDktEntry:
                                                    01/28/1483-1
                                                              Page Page:
                                                                   1 of 4 1 of 4
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                           NOT FOR PUBLICATION                                 JAN 28 2014

                                                                          MOLLY C. DWYER, CLERK
                    UNITED STATES COURT OF APPEALS                          U.S. COURT OF APPEALS



                            FOR THE NINTH CIRCUIT


JANE DOE, pro se,                                No. 11-15583

              Plaintiff - Appellant,             D.C. No. 3:07-cv-05596-SI

  v.
                                                 MEMORANDUM*
CITY OF SAN MATEO; SAN MATEO
POLICE DEPARTMENT; SHANDON
MURPHY; JOSEPH YANSUKA;
COUNTY OF SAN MATEO; SAN
MATEO COUNTY SHERIFF’S OFFICE;
PERUCCI, Sergeant; SUZANNE BLICK,
Deputy,

              Defendants - Appellees.


                   Appeal from the United States District Court
                      for the Northern District of California
                   Susan Illston, Senior District Judge, Presiding

                     Argued and Submitted December 3, 2013
                            San Francisco, California

Before: TROTT, THOMAS, and MURGUIA, Circuit Judges.




        *
             This disposition is not appropriate for publication and is not precedent
except as provided by 9th Cir. R. 36-3.
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                                    ID: 8956680
                                          448 FiledDktEntry:
                                                    01/28/1483-1
                                                              Page Page:
                                                                   2 of 4 2 of 4



      We have jurisdiction pursuant to 28 U.S.C. § 1291 over this timely appeal

from the district court’s grant of summary judgment to the defendants, and we

affirm, albeit on a different ground.1 Craig v. M&O Agencies, Inc., 496 F.3d 1047,

1053 (9th Cir. 2007). Because the facts are well known to the parties and were

fully aired during oral argument, we repeat them only as necessary to explain our

decision.

      The events that precipitated this lawsuit began with a fractious encounter

between Doe and her ex-boyfriend with whom she had a previous year-long

consensual sexual relationship. She sued him in state court for sexual battery, but

she voluntarily dropped that case after the trial commenced, and the court ordered

it dismissed with prejudice. These consolidated cases of escalating charges

followed.

      A thorough examination of this record demonstrates beyond doubt that even

viewed in every respect in the light most favorable to her, Doe plainly has not

marshaled evidence sufficient to permit a jury reasonably to render a verdict in her

favor. In re Oracle Corp. Sec. Litig., 627 F.3d 376, 387 (9th Cir. 2010). We



      1
         We reject any suggestion in the district court’s order that the crime of rape
without more does not create a “serious medical need.” We do believe, as did the
district court, that appropriately attending to and treating a woman who is a rape
victim “is the right thing to do.”

                                           2
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                     01/28/2014 Document
                                    ID: 8956680
                                          448 FiledDktEntry:
                                                    01/28/1483-1
                                                              Page Page:
                                                                   3 of 4 3 of 4



conclude from our careful review that this is one of those unusual situations where

the “evidence [is not] of such a character that it would warrant the jury in finding a

verdict” in her favor. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251 (1986)

(quoting Schuylkill & Dauphin Improvement Co. v. Munson, 81 U.S. (14 Wall.)

442, 448 (1871)). In essence, the combination of the following salient factors

coalesce to erase the viability of her charges: (1) her inebriation and behavior at the

time of many of the relevant events; (2) her text messages to her alleged attacker,

which impeach the foundation of her claims; (3) her multiple recorded statements

to the police and her deposition testimony, which are irreconcilable with her

assertions; (4) her numerous contradictory revisions of her factual allegations; and

(5) her claim for the first time in opposition to summary judgment that she sought

medical treatment two days after her alleged attack. This claim, about which she

refused to divulge any specific information, contradicted her deposition testimony

that she never saw a doctor or went to a hospital after the event. We are firmly

convinced that Doe’s case could not survive a motion for a directed verdict under

Federal Rule of Civil Procedure 50(a), which mandates that a “trial judge must

direct a verdict if, under the governing law, there can be but one reasonable

conclusion as to the verdict.” Anderson, 477 U.S. at 250.




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  Case: Case
        11-15583
             3:07-cv-05596-SI
                    01/28/2014 Document
                                   ID: 8956680
                                         448 FiledDktEntry:
                                                   01/28/1483-1
                                                             Page Page:
                                                                  4 of 4 4 of 4



      Under these circumstances and on this ground, the defendants are entitled to

summary judgment. Thus, we affirm.2

AFFIRMED




      2
       On these facts and circumstances, Doe’s First Amendment Petition Clause
Claim with respect to her “informal request for assistance” has no merit.

                                        4
